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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )    4:08CR3019
                                     )
     v.                              )
                                     )       ORDER
CHRISTOPHER G. DIGIORGIO and         )
DOMINICK C. DIGIORGIO,               )
                                     )
     Defendant.                      )


     IT IS ORDERED,

     Plaintiff’s motion to set this matter for trial, filing 48,
is granted, and

     1. Trial is set for 9:00 a.m., September 22, 2008, before
the Honorable Richard G. Kopf in Courtroom 1, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. Jury selection will be held at commencement
of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between August 20,
2008 and September 22, 2008 shall be deemed excludable time in
any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

     Dated August 20, 2008.

                                   BY THE COURT


                                   s/David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
